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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                      Case Number 8:11CR173-001

                                                        USM Number 24214-047

TIMOTHY H. SHIRLEY
                  Defendant
                                                        JEFFREY L. THOMAS

                                                        Defendant’s Attorney
___________________________________

                                 JUDGMENT IN A CRIMINAL CASE
                       (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT was found guilty on counts I, II, and III of the Indictment after a plea of not guilty
on 8/3/2012.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

                                                             Date Offense                Count
           Title, Section & Nature of Offense                 Concluded                 Number


 18:371 CONSPIRACY                                       May 26, 2010                       I

 18:641 and 2 THEFT OF GOVERNMENT PROPERTY               May 26, 2010                       II

 42:408(a)(4) SOCIAL SECURITY FRAUD                      May 26, 2010                      III

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the defendant of the right to appeal pursuant
to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice
of Appeal must be filed with the Clerk of this Court within fourteen (14) days of this date pursuant to
Fed. R. App. P. 4.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405 (Revised DNA
Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall
notify the court and United States attorney of any material change in the defendant’s economic
circumstances.

                                                                        Date of Imposition of Sentence:
                                                                                    December 3, 2012

                                                                     s/Laurie Smith Camp
                                                                     Chief United States District Judge

                                                                             December 4, 2012
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                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of twenty-one (21) months on each count of the indictment to be served
concurrently.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the defendant be incarcerated in a federal facility as close to Nebraska City,
        Nebraska as possible.

2.      Defendant shall be given credit for time served.

The defendant shall surrender for service of sentence at the institution designated by the Bureau
of Prisons no earlier than Monday, February 4, 2013 by 2:00 p.m.

                                ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                            _____________________________
                                                                    Signature of Defendant

                                             RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                      __________________________________
                                                             UNITED STATES WARDEN

                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                         CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                   SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of
three (3) years on each count of the indictment. to run concurrently

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.


                          STANDARD CONDITIONS OF SUPERVISION


1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer in a manner and frequency directed by
        the court or probation officer.
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
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13.     As directed by the probation officer, the defendant shall notify third parties of risks that may
        be occasioned by the defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the defendant’s
        compliance with such notification requirement.


                                SPECIAL CONDITIONS OF SUPERVISION


1.      The defendant shall cooperate in the collection of DNA as directed by the probation officer,
        pursuant to the Public Law 108-405 (Revised DNA Collection Requirements Under the
        Justice for All Act of 2004), if such sample was not collected during imprisonment.

2.      Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely
        refraining from excessive use of alcohol, the defendant shall not purchase or possess, use,
        distribute, or administer any alcohol, just the same as any other narcotic or controlled
        substance.

3.      The defendant shall submit his or her person, residence, office, or vehicle to a search
        conducted by a United States Probation Officer at any time; failure to submit to a search
        may be grounds for revocation; the defendant shall warn any other residents that the
        premises may be subject to searches pursuant to this condition.

4.      The defendant shall attend, successfully complete, and pay for any mental health diagnostic
        evaluations and treatment or counseling programs as directed by the probation officer.

5.      The defendant shall pay restitution in the amount of $135,707.70 to the Clerk of the U.S.
        District Court, 111 S. 18th Plaza, Suite 1152, Omaha, Nebraska 68102-1322. Restitution
        shall be paid in accordance with the schedule set forth in the “Schedule of Payments” set
        forth in this judgment. The defendant shall be responsible for providing proof of payment
        to the probation officer as directed.

        Without limiting the foregoing, and following release from prison, the defendant shall make
        payments to satisfy the criminal monetary penalty in the following manner: (a) monthly
        installments of $50 or 5% of the defendant’s gross income, whichever is greater; (b) the first
        payment shall commence 30 days following the defendant’s discharge from incarceration,
        and continue until the criminal monetary penalty is paid in full; and (c) the defendant shall
        be responsible for providing proof of payment to the probation officer as directed.

6.      The defendant is prohibited from incurring new credit charges or opening additional lines
        of credit without prior written approval of the probation officer.

7.      The defendant shall provide the probation officer with access to any requested financial
        information.

8.      The defendant shall attend, successfully complete, and pay for an approved cognitive-
        behavioral based program as directed by the probation officer.

9.      The requirement of 18 U.S.C. § 3583 (d) regarding drug testing within fifteen (15) days of
        release on supervised release and at least two (2) periodic drug tests thereafter, is
        suspended until further order of the Court because the Presentence Investigation Report
        on the defendant and other reliable sentencing information indicates a low risk of future
        substance abuse by the defendant.
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10.     The defendant shall report to the Supervision Unit of the U.S. Probation Office for the
        District of Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza,
        Suite C79, Omaha, Nebraska, (402) 661-7555, within seventy-two (72) hours of release
        from confinement, and, thereafter, as directed by the probation officer.
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                                CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                         Total Fine                       Total Restitution
              $300.00                                                               $135,507.70



The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:

          interest requirement is waived.



                                                   FINE

          No fine imposed.

                                             RESTITUTION

       The Court gives notice that this case involves other defendants who may be held jointly and
severally liable for payment of all or part of the restitution ordered herein and may order such
payment in the future.

         Restitution in the amount of $135,507.70 is hereby ordered. The defendant shall make
restitution to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                        Priority Order
                                **Total Amount               Amount of                  or Percentage
     Name of Payee                  of Loss              Restitution Ordered             of Payment

 Social Security                  $135,507.70                 $135,507.70                 Priority
 Administration                                                                    Order/Percentage
 Debt Management
 Sector
 PO Box 2861
 Philadelphia, PA 19122

 Totals                           $135,507.70                 $135,507.70

Restitution is hereby ordered jointly and severally with Matthew Shirley, 8:11CR173,
$135,507.70.

          **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                       SCHEDULE OF PAYMENTS

The defendant shall pay the special assessment in the amount of $300.00.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated to
pay said sum immediately if he or she has the capacity to do so. The United States of America may
institute civil collection proceedings at any time to satisfy all or any portion of the criminal monetary
penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program, the
defendant shall pay 50% of the available inmate institutional funds per quarter towards the criminal
monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make payments to
satisfy the criminal monetary penalty in the following manner: (a) monthly installments of $50 or 5% of
the defendant’s gross income, whichever is greater; (b) the first payment shall commence 30 days
following the defendant’s discharge from incarceration, and continue until the criminal monetary penalty
is paid in full; and (c) the defendant shall be responsible for providing proof of payment to the probation
officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following order
of priority: special assessment; restitution; fine; and other penalties. Unless otherwise specifically
ordered, all criminal monetary penalty payments, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk of the Court.
Unless otherwise specifically ordered, interest shall not accrue on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111 S.
18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic circumstances
affecting the ability to make monthly installments, or increase the monthly payment amount, as ordered
by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary to
liquidate and apply the proceeds of such property as full or partial payment of the criminal monetary
penalty.

Restitution is hereby ordered jointly and severally with Matthew Shirley, 8:11CR173, $135,507.70.

CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
